
ON APPLICATION FOR REHEARING
PER CURIAM.
In its application for a rehearing the plaintiff-respondent, City of New Orleans, argues the power to punish for contempt is an inherent power of the court, existing independently of any particular grant of such power by the constitution or legislature, and a court has the right and authority to disregard a statutory limit on a fine for contempt when that limit precludes the penalty from being effective, citing other than Louisiana cases which support that authority.
The answer to this argument is to be found in the last sentence of Article V, Section 2, of the Constitution of 1974, not cited in our original opinion. That sentence reads: “The power to punish for contempt of court shall be limited by law.”
The application for rehearing is refused.
